     Case 2:19-cv-00627-MCE-KJN Document 1-5 Filed 04/12/19 Page 1 of 2

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 6
     Attorneys for Defendants
 7   WARRIOR TRADING, INC.;
     and ROSS CAMERON
 8

 9                           IN THE UNITED STATES DISTRICT COURT
10                        FOR THE EASTERN DISTRICT OF CALIFORNIA
11
     JEFFREY P. FORTIS, an individual,        Case No.: _____________________
12
                    Plaintiff,                DEFENDANTS’ CERTIFICATE OF
13                                            INTERESTED PARTIES AND
            v.                                DEFENDANT WARRIOR TRADING,
14                                            INC.’S CORPORATE DISCLOSURE
     WARRIOR TRADING, INC., a Delaware        STATEMENT
15
     corporation; ROSS CAMERON, an
16   individual; and DOES 1 through 50,
     inclusive,
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                    Defendants.               State Action Filed: March 7, 2019
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       DEFENDANTS’ CERTIFICATE OF INTERESTED PARTIES AND DEFENDANT WARRIOR TRADING,
                           INC.’S CORPORATE DISCLOSURE STATEMENT
     FPDOCS 35254741.1
     Case 2:19-cv-00627-MCE-KJN Document 1-5 Filed 04/12/19 Page 2 of 2

 1                 DEFENDANTS’ CERTIFICATE OF INTERESTED PARTIES
 2          The undersigned, counsel of record for WARRIOR TRADING, INC. and ROSS

 3   CAMERON, certifies that the following listed persons, associations of persons, firms,

 4   partnerships, corporations (including parent corporations) or other entities (i) have a financial

 5   interest in the subject matter in controversy or in a party to the proceeding, or (ii) have a non-

 6   financial interest in that subject matter or in a party that could be substantially affected by the

 7   outcome of this proceeding:

 8          1.      Plaintiff JEFFREY P. FORTIS, a party to this litigation;

 9          2.      Defendant WARRIOR TRADING, INC., a party to this litigation; and

10          3.      Defendant ROSS CAMERON, a party to this litigation.

11         DEFENDANT WARRIOR TRADING, INC.’S CORPORATE DISCLOSURE
                                STATEMENT
12
            Pursuant to Federal Rules of Civil Procedure Rule 7.1, the undersigned certifies as
13
     follows:
14
            1.      At all times relevant in this action, Defendant WARRIOR TRADING, INC. does
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     not, and did not, have any parent corporation, nor does a publicly held corporation own more
16
     than 10% or more of its stock.
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19
     DATE: April 12, 2019                     FISHER & PHILLIPS LLP
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21
                                              By:    /s/ Alden J. Parker _____________________
22                                                  Alden J. Parker, State Bar No. 196808
                                                    Drew M. Tate, State Bar No. 312219
23
                                              Attorneys for Defendants
24                                            WARRIOR TRADING, INC.; and ROSS
                                              CAMERON
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       DEFENDANTS’ CERTIFICATE OF INTERESTED PARTIES AND DEFENDANT WARRIOR TRADING,
                           INC.’S CORPORATE DISCLOSURE STATEMENT
     FPDOCS 35254741.1
